Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Sullivan Vineyards Partnership

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1090 Galleron Road                                              Post Office Box G
                                  Saint Helena, CA 94574                                          Rutherford, CA 94573
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Napa                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Sullivan Vineyards Partnership                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     Sullivan Vineyards Corporation                                  Relationship            Affiliate
                                                            Northern District of
                                                 District   California                    When       2/01/17                Case number, if known   17-10065



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Debtor   Sullivan Vineyards Partnership                                                            Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    Sullivan Vineyards Partnership                                                           Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 2, 2017
                                                  MM / DD / YYYY


                             X   /s/ Ross Sullivan                                                        Ross Sullivan
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   General Partner




18. Signature of attorney    X   /s/ Michael C. Fallon                                                     Date February 2, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Michael C. Fallon
                                 Printed name

                                 Fallon & Fallon
                                 Firm name

                                 100 E Street, Suite 219
                                 Santa Rosa, CA 95404
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (707) 546-6770                Email address      mcfallon@fallonlaw.net

                                 088313
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         Sullivan Vineyards Partnership

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 2, 2017                        X /s/ Ross Sullivan
                                                                       Signature of individual signing on behalf of debtor

                                                                       Ross Sullivan
                                                                       Printed name

                                                                       General Partner
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Sullivan Vineyards Partnership
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                CALIFORNIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Bittner and                                                     Professional                                                                                               $6,000.00
 Company, LLC
 P. O. Box 168
 Moraga, CA 94575
 Byers Costin                                                    Legal Fees                                                                                               $24,126.00
 P.O. Box 878
 Santa Rosa, CA
 95402
 Garvey Brothers                                                 Vendor                                                                                                   $73,139.00
 Vineyard
 Management
 106 Winedale
 Napa, CA 94558
 Geary, Shea, et al.                                             Attorney Services                                                                                          $1,357.85
 90 South E Street,
 Suite 300
 Santa Rosa, CA
 95404
 Ghirardo CPA                                                    Accounting                                                                                                   $850.75
 7200 Redwood Blvd,
 Ste 403
 Novato, CA 94945
 Gonzalez Electric,                                              Vendor                                                                                                     $1,551.80
 Peter
 2026 Heinke Drive
 Napa, CA 94558
 Miller & Company                                                                                                                                                           $3,341.00
 Reporters
 880 Apollo Street,
 Suite 352
 El Segundo, CA
 90245
 Thomas R. Harnett,                                              Accounting                                                                                                 $4,750.00
 LLC                                                             Services
 965 Marina Drive
 Napa, CA
 94559-4744


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Fill in this information to identify the case:

 Debtor name            Sullivan Vineyards Partnership

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $       16,000,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        2,994,254.76

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       18,994,254.76


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $       14,158,231.93


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           115,116.40


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         14,273,348.33




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Sullivan Vineyards Partnership

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                              Last 4 digits of account
                                                                                                             number


           3.1.     Umpqua                                                  Checking                         5581                                       $505.76



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                         $505.76
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                            2,100,000.00    -                               0.00 =....                          $2,100,000.00
                                              face amount                        doubtful or uncollectible accounts



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
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                Name


           11b. Over 90 days old:                                    0.00    -                                  0.00 =....                             $0.00
                                              face amount                           doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                             $2,100,000.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.

           General description                                                   Net book value of         Valuation method used     Current value of
                                                                                 debtor's interest         for current value         debtor's interest
                                                                                 (Where available)

 28.       Crops-either planted or harvested
           21.15 acres planted vineyards: 1.91ac Petit
           Verdot (2006), 4.68ac Cabernet Sauvignon
           (2000), 2.81ac Cabernet Sauvignon (1998),
           3.53ac Cabernet Sauvignon (2002), 1.03ac
           Cabernet Franc (2012), 1.04ac Cabernet
           Saugvignon (2012), 1.04ac Cabernet
           Sauvignon (2012), 1.01ac Merlot (2012), 2.01ac
           Cabernet Sauvignon (2012), .94ac Merlot
           (2012), .92ac Chardonnay (2012), .23ac Malbec
           (2013).                                                                              $0.00                                                  $0.00



 29.       Farm animals Examples: Livestock, poultry, farm-raised fish

 30.       Farm machinery and equipment (Other than titled motor vehicles)
           Kabota Tractor with implements
           All wheel drive quad                                                                 $0.00                                          $15,000.00



 31.       Farm and fishing supplies, chemicals, and feed

 32.       Other farming and fishing-related property not already listed in Part 6

 33.       Total of Part 6.                                                                                                                $15,000.00
           Add lines 28 through 32. Copy the total to line 85.

 34.       Is the debtor a member of an agricultural cooperative?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                        page 2
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                Name


               Yes. Is any of the debtor's property stored at the cooperative?
                         No
                         Yes

 35.       Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 36.       Is a depreciation schedule available for any of the property listed in Part 6?
               No
               Yes

 37.       Has any of the property listed in Part 6 been appraised by a professional within the last year?
               No
               Yes

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used      Current value of
                                                                                 debtor's interest      for current value          debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Office furniture and fixtures                                                       $0.00                                         $10,783.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles
           42.1. Paintings and Art                                                         $0.00                                                 $750.00



 43.       Total of Part 7.                                                                                                                 $11,533.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used      Current value of
           Include year, make, model, and identification numbers                 debtor's interest      for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                         (Where available)
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 3
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 Debtor         Sullivan Vineyards Partnership                                                Case number (If known)
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 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Machinery and Equipment                                                          $0.00                                        $175,716.00



 51.       Total of Part 8.                                                                                                          $175,716.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used     Current value of
           property                                       extent of           debtor's interest      for current value         debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. 1090 Galleron Road,
                     Rutherford/St Helena,
                     California (APN
                     030-070-010). 26.1
                     acres, 24 acres
                     planted in grapes.
                     3,000 sq ft single
                     family dwelling,
                     bottom floor used for
                     office space, second
                     floor used for living
                     quarters. Winery,
                     tasting room, crush
                     facility, storage
                     tanks, production
                     equipment.                           Fee                               $0.00                                    $16,000,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 4
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 Debtor         Sullivan Vineyards Partnership                                                Case number (If known)
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 56.        Total of Part 9.                                                                                                         $16,000,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of        Valuation method used      Current value of
                                                                              debtor's interest        for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets
            Sullivan Brand, A Gold Seal Trademark.                                          $0.00                                          $670,000.00



 61.        Internet domain names and websites
            sullivanwine.com                                                                $0.00                                                   $0.00



 62.        Licenses, franchises, and royalties
            (1) County of Napa Department of Planning,
            Building, & Environmental Services Annual
            Permit to Operate
            (2) Compressed Air Permit
            (3) Liquid Propane Tank Permit                                                  $0.00                                                   $0.00



 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                           $670,000.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 5
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            Case: 17-10067                   Doc# 1            Filed: 02/02/17      Entered: 02/02/17 11:03:57                 Page 12 of 31
 Debtor         Sullivan Vineyards Partnership                                                Case number (If known)
                Name

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                    Current value of
                                                                                                                                    debtor's interest


 71.        Notes receivable
            Description (include name of obligor)
            JoAnna C. Sullivan                                                21,500.00 -                                  0.00 =
            P O Box 768                                               Total face amount     doubtful or uncollectible amount
            Pebble Beach, CA 93953                                                                                                            $21,500.00



 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities
            Workers Compensation and Employers Liability
            Insurance Policy
            Republic Indemnity Company of California
            Policy No. 18427104                                                                                                                 Unknown


            Republic Indemnity Company of California
            Workers Compensation and Employers' Liability
            Insurance Policy                                                                                                                          $0.00



 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims

 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                               $21,500.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 6
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 Debtor          Sullivan Vineyards Partnership                                                                      Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $505.76

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                 $2,100,000.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                      $15,000.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $11,533.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $175,716.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $16,000,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                $670,000.00

 90. All other assets. Copy line 78, Part 11.                                                    +                  $21,500.00

 91. Total. Add lines 80 through 90 for each column                                                         $2,994,254.76            + 91b.           $16,000,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $18,994,254.76




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                            page 7
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 Fill in this information to identify the case:

 Debtor name         Sullivan Vineyards Partnership

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1   Napa County Tax Collector                      Describe debtor's property that is subject to a lien                   $11,838.93          $16,000,000.00
       Creditor's Name                                1090 Galleron Road, Rutherford/St Helena,
                                                      California (APN 030-070-010). 26.1 acres, 24
                                                      acres planted in grapes. 3,000 sq ft single
                                                      family dwelling, bottom floor used for office
       1195 Third Street, Room                        space, second floor used for living quarters.
       108                                            Winery, tasting
       Napa, CA 94559-3050
       Creditor's mailing address                     Describe the lien
                                                      Real Property Taxes
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       2016                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.
       1. Napa County Tax
       Collector
       2. Winery Rehabilitation,
       LLC
       3. Stephen A. Finn

 2.2   Stephen A. Finn                                Describe debtor's property that is subject to a lien               $4,646,393.00           $16,000,000.00
       Creditor's Name                                1090 Galleron Road, Rutherford/St Helena,
       c/o Pillsbury Winthrop                         California (APN 030-070-010). 26.1 acres, 24
       Shaw Pittman LLP                               acres planted in grapes. 3,000 sq ft single
       Attn: Douglas W. Pyle                          family dwelling, bottom floor used for office
       Four Embarcadero Center,                       space, second floor used for living quarters.
       22nd Floor                                     Winery, tasting
       San Francisco, CA
       94111-5998
       Creditor's mailing address                     Describe the lien
                                                      Deed of Trust

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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           Case: 17-10067                    Doc# 1            Filed: 02/02/17               Entered: 02/02/17 11:03:57                 Page 15 of 31
 Debtor       Sullivan Vineyards Partnership                                                           Case number (if know)
              Name

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.1

 2.3    Winery Rehabilitation, LLC                    Describe debtor's property that is subject to a lien                   $9,500,000.00     $16,000,000.00
        Creditor's Name                               1090 Galleron Road, Rutherford/St Helena,
                                                      California (APN 030-070-010). 26.1 acres, 24
                                                      acres planted in grapes. 3,000 sq ft single
                                                      family dwelling, bottom floor used for office
                                                      space, second floor used for living quarters.
        7103 South Rever Pkwy                         Winery, tasting
        Centennial, CO 80012
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.
        Specified on line 2.1

                                                                                                                               $14,158,231.
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        93

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
         Stephen A Finn
         7103 S Revere Parkway                                                                                  Line   2.2
         Englewood, CO 80112




Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 2
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           Case: 17-10067                     Doc# 1           Filed: 02/02/17               Entered: 02/02/17 11:03:57                 Page 16 of 31
 Fill in this information to identify the case:

 Debtor name         Sullivan Vineyards Partnership

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $6,000.00
           Bittner and Company, LLC                                             Contingent
           P. O. Box 168                                                        Unliquidated
           Moraga, CA 94575                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Professional
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $24,126.00
           Byers Costin                                                         Contingent
           P.O. Box 878                                                         Unliquidated
           Santa Rosa, CA 95402                                                 Disputed
           Date(s) debt was incurred 2017
                                                                             Basis for the claim:    Legal Fees
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $73,139.00
           Garvey Brothers Vineyard Management                                  Contingent
           106 Winedale                                                         Unliquidated
           Napa, CA 94558                                                       Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $1,357.85
           Geary, Shea, et al.                                                  Contingent
           90 South E Street, Suite 300                                         Unliquidated
           Santa Rosa, CA 95404                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Attorney Services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 2
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 Debtor       Sullivan Vineyards Partnership                                                          Case number (if known)
              Name

 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                    $850.75
           Ghirardo CPA                                                         Contingent
           7200 Redwood Blvd, Ste 403                                           Unliquidated
           Novato, CA 94945                                                     Disputed
           Date(s) debt was incurred 2016
                                                                             Basis for the claim:    Accounting
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.6       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $1,551.80
           Gonzalez Electric, Peter                                             Contingent
           2026 Heinke Drive                                                    Unliquidated
           Napa, CA 94558                                                       Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.7       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $3,341.00
           Miller & Company Reporters                                           Contingent
           880 Apollo Street, Suite 352                                         Unliquidated
           El Segundo, CA 90245                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.8       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $4,750.00
           Thomas R. Harnett, LLC                                               Contingent
           965 Marina Drive                                                     Unliquidated
           Napa, CA 94559-4744                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Accounting Services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the           Last 4 digits of
                                                                                                      related creditor (if any) listed?                 account number, if
                                                                                                                                                        any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                             0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                       115,116.40

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                          115,116.40




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Sullivan Vineyards Partnership

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Annual Permit to
             lease is for and the nature of               Operate - Unified
             the debtor's interest                        Programs Consolidated
                                                          Operating permit
                                                          (Establishment No. 723)
                  State the term remaining                Annual
                                                                                      County of Napa
             List the contract number of any                                          1195 Third Street, Suite 210
                   government contract                                                Napa, CA 94559


 2.2.        State what the contract or                   Vineyard Management
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                      Garvey Brothers Vineyard Management
             List the contract number of any                                          106 Winedale
                   government contract                                                Napa, CA 94558




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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           Case: 17-10067                    Doc# 1            Filed: 02/02/17      Entered: 02/02/17 11:03:57                 Page 19 of 31
 Fill in this information to identify the case:

 Debtor name         Sullivan Vineyards Partnership

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Caireen Sullivan                  1983 Ocean Avenue                                 All                                D
                                               Santa Cruz, CA 95060                                                                 E/F
                                               General Partner                                                                      G




    2.2      Kelleen F.                        1090 Galleron Road                                All                                D
             Sullivan                          Rutherford, CA 94573                                                                 E/F
                                               General Partner                                                                      G




    2.3      Philomena                         22 Church Street                                  All                                D
             Gildea                            Weston, MA 02493                                                                     E/F
                                               General Partner                                                                      G




    2.4      Ross Sullivan                     1322 El Bonita Avenue                             All                                D
                                               Saint Helena, CA 94574                                                               E/F
                                               General Partner                                                                      G




    2.5      Sean Sullivan                     P O Box 5543                                      All                                D
                                               Napa, CA 94581                                                                       E/F
                                               General Partner                                                                      G




Official Form 206H                                                          Schedule H: Your Codebtors                                        Page 1 of 2
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 Debtor       Sullivan Vineyards Partnership                                               Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Sullivan                          P O Box G                                        Stephen A. Finn             D   2.2
             Vineyards                         Rutherford, CA 94573                                                         E/F
             Corporation                       Co-obligor
                                                                                                                            G




    2.7      Sullivan                          P O Box G                                        Winery                      D   2.3
             Vineyards                         Rutherford, CA 94573                             Rehabilitation, LLC         E/F
             Corporation                       Co-obligor
                                                                                                                            G




Official Form 206H                                                          Schedule H: Your Codebtors                             Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Sullivan Vineyards Partnership

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For year before that:                                                                       Operating a business                               $613,974.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other


       For the fiscal year:                                                                        Operating a business                               $669,063.00
       From 1/01/2014 to 12/31/2014
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                         Kelleen Sullivan Loan
       From 1/01/2016 to 12/31/2016                                                            Repayment                                                $50,000.00


 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy

           Case: 17-10067                    Doc# 1            Filed: 02/02/17           Entered: 02/02/17 11:03:57                    Page 22 of 31
 Debtor       Sullivan Vineyards Partnership                                                            Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1.
               Garvey Brothers Vineyard Management                         12/12/2016 -                     $27,000.00                Secured debt
               106 Winedale                                                $22,000                                                    Unsecured loan repayments
               Napa, CA 94558                                              01/24/2017 -                                               Suppliers or vendors
                                                                           $ 5,000
                                                                                                                                      Services
                                                                                                                                      Other


       3.2.
               Gordon Lehman Construction                                  11/08/2016 -                     $14,395.00                Secured debt
               2534 Farrier Court                                          $14,395                                                    Unsecured loan repayments
               Santa Rosa, CA 95401                                                                                                   Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
   may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                    Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                 Status of case
               Case number                                                                  address
       7.1.    Stephen Finn v. Kelleen                                                      Northern District of                           Pending
               Sullivan, et al                                                              California                                     On appeal
               3:16-CV-05285-WHO                                                            Golden Gate Avenue
                                                                                                                                           Concluded
                                                                                            450 Golden Gate Avenue
                                                                                            San Francisco, CA


8. Assignments and receivership
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    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
    receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

                Recipient's name and address                     Description of the gifts or contributions                  Dates given                        Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates               Total amount or
                 the transfer?                                                                                                                              value
                 Address
       11.1.                                                                                                                   10/25/2016 -
                 Fallon & Fallon                                                                                               $ 5,000
                 100 E Street, Suite 219                                                                                       12/12/2016 -
                 Santa Rosa, CA 95404                                Attorney Fees                                             $15,000                 $20,000.00

                 Email or website address
                 mcfallon@fallonlaw.net

                 Who made the payment, if not debtor?




       11.2.     Beyers Costin Simon
                 Attn: Peter L. Simon                                                                                          Regular
                 200 4th Street #400                                                                                           payments
                 Santa Rosa, CA 95402                                                                                          as billed               $22,935.00

                 Email or website address
                 psimon@beyerscostin.com

                 Who made the payment, if not debtor?




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                 Who was paid or who received                        If not money, describe any property transferred           Dates                Total amount or
                 the transfer?                                                                                                                               value
                 Address
       11.3.     Geary Shea O'Donnell,
                 Grattan & Mitchell
                 Attn: John A. Holdredge
                 37 Old Courthouse Sq, Fourth                                                                                  Regular
                 Floor                                                                                                         payments
                 Santa Rosa, CA 95404-4929                                                                                     as billed                $33,756.00

                 Email or website address


                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers               Total amount or
                                                                                                                      were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer              Total amount or
                Address                                          payments received or debts paid in exchange             was made                            value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     7103 South Revere Parkway                                                                                 Ended October 2015
                 Littleton, CO 80122

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services              If debtor provides meals
                                                                 the debtor provides                                                       and housing, number of
                                                                                                                                           patients in debtor’s care


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 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was           Last balance
               Address                                           account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.     Silicon Valley Bank                             XXXX-6996                   Checking                 11/22/16                          $849.41
                 3003 Tasman Drive                                                           Savings
                 Santa Clara, CA 95054
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.2.     Silicon Valley Bank                             XXXX-9779                   Checking                 11.22/16                       $1,385.43
                 3003 Thasman Drive                                                          Savings
                 Santa Clara, CA 95054
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       St Helena Self Storage                                        Ross Sullivan, Kelly                 Office furniture, frniture,             No
       950 Vintage Avenue                                            Sullivan, Jenni Valasquez            persoanl items of partners,             Yes
       Saint Helena, CA 94574                                                                             business records.


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 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None


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       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       Autumn Cruzan                                                                                                        October 2015 -
                    P. O. Box 2702                                                                                                       present
                    Napa, CA 94559
       26a.2.       Teresa Sullivan                                                                                                      December 2014 -
                    14 Windsor Lane                                                                                                      October 2015
                    Petaluma, CA 94952
       26a.3.       Toni Owen                                                                                                            January 2014 -
                    P O Box 4302                                                                                                         March 2015
                    Napa, CA 94558
       26a.4.       Doug Thaxton                                                                                                         December 2013 -
                    7745 Hudson Ct                                                                                                       March 2014
                    Littleton, CO 80122
       26a.5.       David Runburg                                                                                                        August 2011 -
                    7745 Hudson Ct                                                                                                       December 2013
                    Littleton, CO 80122

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Thomas Harnett
                    Thomas Harnett LLC
                    965 Marina Drive
                    Napa, CA 94559

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Debtor



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       SEE ATTACHED



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.
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       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Kelleen Sullivan                               P O Box 396                                         Partner                              60.8%
                                                      Rutherford, CA 94573

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Ross Sullivan                                  1322 El Bonita Avenue                               Partner                              9.8%
                                                      Saint Helena, CA 94574

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Philomenia Gildea                              22 Church Street                                    Partner                              9.8%
                                                      Weston, MA 02493

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Sean Sullivan                                  P O Box 5543                                        Partner                              9.8%
                                                      Napa, CA 94581

       Name                                           Address                                             Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Caireen Sullivan                               1983 Ocean Avenue                                   Partner                              9.8%
                                                      Santa Cruz, CA 95060



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.1 Kelleen F. Sullivan
       .    1090 Galleron Road
               Rutherford, CA 94573                              $50,000                                                 March 1, 2016     Loan

               Relationship to debtor
               Partner




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               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value
       30.2                                                                                                              01/15/16 -
       .                                                                                                                 $5,000
                                                                                                                         01/28/16 -
                                                                                                                         $5,000
                                                                                                                         02/24/16 -
                                                                                                                         $3,000
                                                                                                                         04/04/16 -
                                                                                                                         $3,500
                                                                                                                         05/02/16 -
                                                                                                                         $3,500
                                                                                                                         05/27/16 -
                                                                                                                         $4,500
               JoAnna Sullivan                                                                                           07/25/16 -
                                                                 $26,500                                                 $2,000            Loan

               Relationship to debtor
               Loan to Mother of Partners


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         February 2, 2017

 /s/ Ross Sullivan                                                      Ross Sullivan
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         General Partner

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                     Northern District of California
 In re      Sullivan Vineyards Partnership                                                                            Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 Caireen Sullivan                                                                                                                Partner
 1983 Ocean Avenue
 Santa Cruz, CA 95060

 Kelleen F. Sullivan                                                                                                             Partner
 P O Box 396
 Rutherford, CA 94573

 Philomena Gildea                                                                                                                Partner
 22 Church Street
 Weston, MA 02493

 Ross Sullivan                                                                                                                   Partner
 1322 El Bonita Avenue
 Saint Helena, CA 94574

 Sean Sullivan                                                                                                                   Partner
 P O Box 5543
 Napa, CA 94581


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the General Partner of the partnership named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



 Date February 2, 2017                                                        Signature /s/ Ross Sullivan
                                                                                            Ross Sullivan

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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